             Case 24-02171-CL11                   Filed 06/13/24           Entered 06/13/24 17:22:25                   Doc 1       Pg. 1 of 38


Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PDT Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2470 S. Sante Fe
                                                                                                  PO Box 2470
                                  Vista, CA 92084                                                 Vista, CA 92085
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       None but Debtor utilizes https://www.instagram.com/pdtdetail/


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    PDT Inc.                                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7542

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
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Debtor   PDT Inc.                                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                Case 24-02171-CL11                          Filed 06/13/24           Entered 06/13/24 17:22:25                           Doc 1           Pg. 6 of 38


 Fill in this information to identify the case:
 Debtor name PDT Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA, SAN DIEGO DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                               Business credit                                                                                           $39,488.00
 200 Vesey Street                                               card
 New York, NY
 10285-3106
 California Department                                          Sales tax                                                                                                 $16,342.00
 of Tax and Fee Adm
 PO Box 942879
 Sacramento, CA
 94279-0001
 Can Capital, Inc.                                                                                                  $122,463.00                        $0.00            $122,463.00
 c/o Law Offices of
 Stuart Katz
 940 South Coast Dr.,
 Suite 203
 Costa Mesa, CA
 92626
 Capital One                                                    Business credit                                                                                           $11,961.00
 1680 Capital One                                               card
 Drive
 Mc Lean, VA 22102
 Greg Brackley                                                  Shareholder loan to                                                                                     $165,000.00
 12741 Laurel St. Unit                                          company
 14
 Lakeside, CA 92040
 John and Tammy                                                 Officer loan /                                                                                          $220,000.00
 Wilkoski                                                       mortgaged home
 625 Marigold
 Vista, CA 92083
 John and Tammy                                                 Officer loans to                                                                                          $80,065.00
 Wilkoski                                                       company
 625 Marigold Dr.
 Vista, CA 92083
 Lowe's                                                         Credit card                                                                                                 $2,532.00
 1000 Lowes Blvd.                                               purchases
 Mooresville, NC
 28117




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    PDT Inc.                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 On Deck Capital                                                                                                    $255,750.00                        $0.00            $255,750.00
 175 W. Jackson
 Blvd.,
 Suite 600
 Chicago, IL 60604
 On Deck Capital                                                                        Disputed                                                                          $89,208.89
 175 W. Jackson
 Blvd.,
 Suite 600
 Chicago, IL 60604
 Seacoast Bank                                                                                                      $127,156.00                        $0.00            $127,156.00
 PO Box 9012
 Stuart, FL
 34995-9012
 Swift Funding                                                                          Disputed                     $89,940.00                        $0.00              $89,940.00
 California LLC                  avi@swiftfundingsou
 2474 McDonald Ave.              rce.com
 Brooklyn, NY 11223




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            PDT Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           196,436.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           196,436.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           595,309.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            16,342.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           608,254.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,219,905.89




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     US Bank                                                 Savings                         6053                                       $370.00




           3.2.     US Bank                                                 Checking                        8886                                    $20,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                $20,370.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security deposit held by Tri Freeway Business Parnter, L.P.                                                                      $2,566.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         PDT Inc.                                                                          Case number (If known)
                Name


 9.        Total of Part 2.
                                                                                                                                            $2,566.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                            125,000.00   -                                   0.00 = ....                 $125,000.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                         $125,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last            Net book value of         Valuation method used    Current value of
                                                     physical inventory          debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw materials including
           silicon, AOS 40, LAS99.                                                              $0.00      Liquidation                          $7,500.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Not yet packaged
           products including tire
           dressings, car wash
           soaps, spray waxes, other
           cleaners                                                                             $0.00      Liquidation                          $4,000.00



 22.       Other inventory or supplies
           2 forklifts with one in
           Anaheim and one in Vista                                                             $0.00      Liquidation                        $18,000.00



 23.       Total of Part 5.
                                                                                                                                          $29,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         PDT Inc.                                                                      Case number (If known)
                Name

               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture and equipment                                                          $0.00    Liquidation                          $9,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $9,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         PDT Inc.                                                                      Case number (If known)
                Name

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Storage Racks                                                                   $0.00    Liquidation                        $10,000.00



 51.        Total of Part 8.
                                                                                                                                    $10,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Estimated to be zero but unknown because no
            offer has ever been received and neither the
            company nor stock shares have been marketed.                                    $0.00                                          Unknown



 66.        Total of Part 10.
                                                                                                                                             $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         PDT Inc.                                                                     Case number (If known)
                Name

               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Class action lawsuit member against credit card companies
            for overcharging fees. These are for 3,667 Visa and
            Mastercard transactions totaling $648,883.06 in which
            Debtor was charged $7,033.27. The estimated recovery will
            be a percentage of the $7,033.27 based on a variety of
            factors.                                                                                                                    Unknown
            Nature of claim          Unliquidated
            Amount requested                                $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.
                                                                                                                                          $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 5
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          Case 24-02171-CL11                              Filed 06/13/24                   Entered 06/13/24 17:22:25                          Doc 1       Pg. 14 of 38


 Debtor          PDT Inc.                                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $20,370.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $2,566.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $125,000.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                              $29,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $9,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $10,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $196,436.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $196,436.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 6
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           Case 24-02171-CL11                         Filed 06/13/24              Entered 06/13/24 17:22:25                    Doc 1          Pg. 15 of 38

 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Can Capital, Inc.                             Describe debtor's property that is subject to a lien                  $122,463.00                       $0.00
       Creditor's Name
       c/o Law Offices of Stuart
       Katz
       940 South Coast Dr., Suite
       203
       Costa Mesa, CA 92626
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       07/14/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2017
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   On Deck Capital                               Describe debtor's property that is subject to a lien                  $255,750.00                       $0.00
       Creditor's Name
       175 W. Jackson Blvd.,
       Suite 600
       Chicago, IL 60604
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       02/07/2024                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       PDT Inc.                                                                                 Case number (if known)
              Name

        including this creditor and its relative         Unliquidated
        priority.                                        Disputed




 2.3    Seacoast Bank                                Describe debtor's property that is subject to a lien                       $127,156.00                 $0.00
        Creditor's Name


        PO Box 9012
        Stuart, FL 34995-9012
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        02/06/2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4685
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.4    Swift Funding California LLC                 Describe debtor's property that is subject to a lien                        $89,940.00                 $0.00
        Creditor's Name


        2474 McDonald Ave.
        Brooklyn, NY 11223
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
        avi@swiftfundingsource.com                       No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        02/29/2024                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7123
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $595,309.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         Jacob Verstsandig
         Ershowsky Verstandig, PLLC                                                                             Line   2.4
         290 Central Ave., Suite 109
         Lawrence, NY 11559



Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor       PDT Inc.                                                                  Case number (if known)
              Name

        U.S. Small Business Administration
        Office of General Counsel                                                               Line   2.3
        312 North Spring Street, 5th
        Los Angeles, CA 90012




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                    page 3 of 3
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           Case 24-02171-CL11                         Filed 06/13/24                   Entered 06/13/24 17:22:25                            Doc 1            Pg. 18 of 38

 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $16,342.00          $9,396.00
           California Department of Tax and                          Check all that apply.
                                                                        Contingent
           Fee Adm
                                                                        Unliquidated
           PO Box 942879
                                                                        Disputed
           Sacramento, CA 94279-0001
           Date or dates debt was incurred                           Basis for the claim:
           Q4 2023, Q1 2024                                          Sales tax
           Last 4 digits of account number 9583                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $39,488.00
           American Express
                                                                                       Contingent
           200 Vesey Street                                                            Unliquidated
           New York, NY 10285-3106                                                     Disputed
           Date(s) debt was incurred                                               Basis for the claim: Business credit card
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $11,961.00
           Capital One
                                                                                       Contingent
           1680 Capital One Drive                                                      Unliquidated
           Mc Lean, VA 22102                                                           Disputed
           Date(s) debt was incurred                                               Basis for the claim: Business credit card
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $165,000.00
           Greg Brackley
                                                                                       Contingent
           12741 Laurel St. Unit 14                                                    Unliquidated
           Lakeside, CA 92040                                                          Disputed
           Date(s) debt was incurred August 21, 2023                               Basis for the claim: Shareholder loan to company
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
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           Case 24-02171-CL11                         Filed 06/13/24            Entered 06/13/24 17:22:25                             Doc 1        Pg. 19 of 38

 Debtor        PDT Inc.                                                                               Case number (if known)
               Name


 3.4        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $80,065.00
            John and Tammy Wilkoski
                                                                                Contingent
            625 Marigold Dr.                                                    Unliquidated
            Vista, CA 92083                                                     Disputed
            Date(s) debt was incurred 2023-2024                              Basis for the claim: Officer loans to company
            Last 4 digits of account number otes                             Is the claim subject to offset?       No        Yes


 3.5        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $220,000.00
            John and Tammy Wilkoski
                                                                                Contingent
            625 Marigold                                                        Unliquidated
            Vista, CA 92083                                                     Disputed
            Date(s) debt was incurred 8/7/2023                               Basis for the claim: Officer loan / mortgaged home
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.6        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $2,532.00
            Lowe's
                                                                                Contingent
            1000 Lowes Blvd.                                                    Unliquidated
            Mooresville, NC 28117                                               Disputed
            Date(s) debt was incurred                                        Basis for the claim: Credit card purchases
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes


 3.7        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $89,208.89
            On Deck Capital
            175 W. Jackson Blvd.,
                                                                                Contingent
            Suite 600                                                           Unliquidated
            Chicago, IL 60604                                                   Disputed
            Date(s) debt was incurred 03/12/2024                             Basis for the claim:
            Last 4 digits of account number 4838                             Is the claim subject to offset?       No        Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        16,342.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       608,254.89

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                           624,596.89




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   2470 S. Sante Fe
             lease is for and the nature of               Avenue, Unit A, Vista,
             the debtor's interest                        CA 92084

                 State the term remaining                 Through January 31,          Descanso Business Center, LLC
                                                          2025                         122 Civic Center Dr.
             List the contract number of any                                           Suite 201
                   government contract                                                 Vista, CA 92084


 2.2.        State what the contract or                   2470 S. Sante Fe Ave,
             lease is for and the nature of               Unit ,B
             the debtor's interest                        Vista, CA

                 State the term remaining                 Expired, operating month     Descanso Business Center, LLC
                                                          to month                     122 Civic Center Dr.
             List the contract number of any                                           Suite 201
                   government contract                                                 Vista, CA 92084


 2.3.        State what the contract or                   2017 Chevrolet Silverado
             lease is for and the nature of               2500
             the debtor's interest

                 State the term remaining                 through July 4, 2027
                                                                                       Pro Leasing, LLC
             List the contract number of any                                           2470 S. Sante Fe
                   government contract                                                 Vista, CA 92084


 2.4.        State what the contract or                   2017 Chevrolet Silverado
             lease is for and the nature of               1500
             the debtor's interest

                 State the term remaining                 Through July 2027
                                                                                       Pro Leasing, LLC
             List the contract number of any                                           2470 S. Sante Fe
                   government contract                                                 Vista, CA 92084




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 PDT Inc.                                                                              Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   2020 Isuzu NRR
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 through November 4,
                                                          2029                          Pro Leasing, LLC
             List the contract number of any                                            2470 S. Sante Fe
                   government contract                                                  Vista, CA 92084


 2.6.        State what the contract or                   2020 Izuzu NRR
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Through May 18, 2033
                                                                                        Pro Leasing, LLC
             List the contract number of any                                            2470 S. Sante Fe
                   government contract                                                  Vista, CA 92084


 2.7.        State what the contract or                   Revenue Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                 State the term remaining
                                                                                        Swift Funding California LLC
             List the contract number of any                                            1019 Avenue P.
                   government contract                                                  Brooklyn, NY 11223


 2.8.        State what the contract or                   Tri-Freeway Business
             lease is for and the nature of               Park for facility in
             the debtor's interest                        Anaheim

                 State the term remaining                 April 2022 - March 2027       Tri Freeway Business Partner
                                                                                        Attn: Peter Wang
             List the contract number of any                                            425 N. Whisman Road #600
                   government contract       -                                          Mountain View, CA 94043




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
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           Case 24-02171-CL11                         Filed 06/13/24     Entered 06/13/24 17:22:25                Doc 1        Pg. 22 of 38

 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.9     Daryl Patton                      32277 Valley View Ave.                           Seacoast Bank                       D   2.3
                                               Lake Elsinore, CA 92530                                                              E/F
                                                                                                                                    G



             John R. Wilkoski                  625 Marigold Drive                               Swift Funding                       D   2.4
    2.10                                       Vista, CA 92083                                  California LLC                      E/F
                                                                                                                                    G



             John R. Wilkoski                  625 Marigold Drive                               Can Capital, Inc.                   D   2.1
    2.11                                       Vista, CA 92083                                                                      E/F
                                                                                                                                    G



             John R. Wilkoski                  625 Marigold Drive                               Seacoast Bank                       D   2.3
    2.12                                       Vista, CA 92083                                                                      E/F
                                                                                                                                    G



             John R. Wilkoski                  625 Marigold Drive                               On Deck Capital                     D
    2.13                                       Vista, CA 92083                                                                      E/F       3.7
                                                                                                                                    G



             Pro Leasing, LLC                  PO Box 2470                                      Swift Funding                       D   2.4
    2.14                                       Vista, CA 92085                                  California LLC                      E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       PDT Inc.                                                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Teresa Romine                     200 S. Emeral Dr. #38                       Seacoast Bank                  D   2.3
    2.15                                       Vista, CA 92081                                                            E/F
                                                                                                                          G




Official Form 206H                                                     Schedule H: Your Codebtors                                Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         PDT Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $583,506.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                         $1,381,091.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                         $1,628,003.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1

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           Case 24-02171-CL11                         Filed 06/13/24             Entered 06/13/24 17:22:25                       Doc 1        Pg. 25 of 38

 Debtor       PDT Inc.                                                                                  Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               Can Capital, Inc.                                           April 26, 2024                     $6,666.67
               c/o Stuart A. Katz                                          installment of                                             Unsecured loan repayments
               940 South Coast Dr., Suite 203                              $6,666.67.                                                 Suppliers or vendors
                                                                                                                                      Services
               Costa Mesa, CA 92626
                                                                                                                                      Other Stipulated judgment /
                                                                                                                                 settlement


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Can Capital, Inc. vs. PDT, Inc.                  Collections                Superior Court, County of                       Pending
               37-2023-00024320-CU-CO-NC                                                   San Diego                                       On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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 Debtor      PDT Inc.                                                                                      Case number (if known)



           None

       Custodian's name and Address                             Describe the property                                                    Value
       Swift Funding California LLC                             Interception of accounts receivable
       1019 Avenue P                                                                                                                                      Unknown
       Brooklyn, NY 11223
                                                                Case title                                                               Court name and address

                                                                Case number

                                                                Date of order or assignment



       Custodian's name and Address                             Describe the property                                                    Value
       Elavon                                                   Credit card processing company with demand by Swift
       c/o Timothy Frost                                        Funding California LLC to intercept funds. Funds
       7300 Chapman Hwy                                         withheld prepetition and owed to Debtor                                                   Unknown
       Knoxville, TN 37920
                                                                Case title                                                               Court name and address

                                                                Case number

                                                                Date of order or assignment




 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                         Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss          Value of property
       how the loss occurred                                                                                                                                   lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        PDT Inc.                                                                                  Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates                 Total amount or
                 the transfer?                                                                                                                                value
                 Address
       11.1.     DiMarco Warshaw, APLC                                                                                         On or about
                 PO Box 704                                                                                                    May 21,
                 San Clemente, CA 92674                              Legal fees for Subchapter V.                              2024                      $25,000.00

                 Email or website address
                 DiMarcoWarshaw.com

                 Who made the payment, if not debtor?
                 The retainer was paid by Debtor's
                 principal, John Wilkoski, from a
                 retirement account.


       11.2.                                                                                                                   John
                                                                                                                               Wilkoski
                                                                                                                               paid $2,500
                                                                                                                               on or about
                                                                                                                               May 1, 2024
                                                                                                                               and $1,190
                                                                                                                               on or about
                                                                                                                               May 20,
                                                                                                                               2024 as part
                                                                                                                               of an
                                                                                                                               engagement
                                                                                                                               to analyze
                                                                                                                               the
                                                                                                                               financials of
                                                                                                                               John
                                                                                                                               Wilkoski, as
                                                                                                                               a principal of
                                                                                                                               Debtor, and
                                                                                                                               this Debtor,
                 DiMarco Warshaw, APLC                               Mr. Wilkoski is expected to retain separate               for
                 PO Box 704                                          counsel for any additional advice for his                 bankruptcy
                 San Clemente, CA 92674                              personal financials relating to bankruptcy.               purposes.                   $3,690.00

                 Email or website address
                 DiMarcoWarshaw.com

                 Who made the payment, if not debtor?
                 Debtor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers               Total amount or
                                                                                                                       were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                          Description of property transferred or                   Date transfer               Total amount or
                Address                                         payments received or debts paid in exchange              was made                             value

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 Debtor        PDT Inc.                                                                                 Case number (if known)



  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides
                                                                the debtor provides                                                    meals and housing,
                                                                                                                                       number of patients in
                                                                                                                                       debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred
       18.1.     U.S. Bank                                      XXXX-2356                    Checking                  May 1, 2024                   $13,967.78
                 1301 E. Vista Way                                                           Savings
                 Vista, CA 92084                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     U.S. Bank                                      XXXX-1421                    Checking                  May 1, 2024                       $307.06
                 1301 E Vista Way                                                            Savings
                 Vista, CA 92084                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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 Debtor      PDT Inc.                                                                                   Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                  Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6

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 Debtor      PDT Inc.                                                                                   Case number (if known)




          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Janet L. McClean, CPA                                                                                                      2019-2023
                    PO Box 131358
                    Carlsbad, CA 92011

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       John Wilkoski                                 625 Marigold Drive.                                  President                                     50
                                                     Vista, CA 92083

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Daryl Patton                                  32277 Valley View Avenue                             Retired Territory Sales Manager               20
                                                     Lake Elsinore, CA 92530

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Teresa Romine                                 200 S. Emerald Drive #38                             Territory Sales Manager                       20
                                                     Vista, CA 92081




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 Debtor      PDT Inc.                                                                                   Case number (if known)



       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pedro Estrada                                 1339 N. Frederic Street                              Territory Sales Manager               5
                                                     Burbank, CA 91505

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Greg Brackley                                 12741 Laurel Street, #14                             Service Technician                    5
                                                     Lakeside, CA 92040



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 John Wilkoski
       .    625 Marigold Drive
               Vista, CA 92083                                  $150,000                                                 2023              Labor

               Relationship to debtor
               President


       30.2 Teresa Romine
       .    200 S. Emerald Drive #38
               Vista, CA 92081                                  $47,717                                                  2023              Labor

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8

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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                            Southern District of California, San Diego Division
 In re       PDT Inc.                                                                                                                              Case No.
                                                                                                           Debtor(s)                               Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $
             Prior to the filing of this statement I have received .......................................................                     $
             Balance Due ...................................................................................................................   $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $              25,000.00
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $                   400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):               See SOFA and the forthcoming application to employ counsel.

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               See application to employ on the docket.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               See application to employ on the docket.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     June 13, 2024                                                                                        /s/ Andy Warshaw
     Date                                                                                                 Andy Warshaw
                                                                                                          Signature of Attorney
                                                                                                          DiMarco Warshaw, APLC
                                                                                                          PO Box 704
                                                                                                          San Clemente, CA 92674
                                                                                                          (949) 345-1455 Fax: (949) 417-9412
                                                                                                          andy@dimarcowarshaw.com
                                                                                                          Name of law firm




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CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the mailing
                        matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity security
                        holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any portion
                        of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of each
                        matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed on the
                        same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                            American Express
                            200 Vesey Street
                            New York, NY 10285-3106


                            California Department of Tax and Fee Adm
                            PO Box 942879
                            Sacramento, CA 94279-0001


                            Can Capital, Inc.
                            c/o Law Offices of Stuart Katz
                            940 South Coast Dr., Suite 203
                            Costa Mesa, CA 92626


                            Capital One
                            1680 Capital One Drive
                            Mc Lean, VA 22102


                            Daryl Patton
                            32277 Valley View Ave.
                            Lake Elsinore, CA 92530


                            Descanso Business Center, LLC
                            122 Civic Center Dr. Suite 201
                            Vista, CA 92084


                            Greg Brackley
                            12741 Laurel St. Unit 14
                            Lakeside, CA 92040


                            Jacob Verstsandig
                            Ershowsky Verstandig, PLLC
                            290 Central Ave., Suite 109
                            Lawrence, NY 11559


                            John and Tammy Wilkoski
                            625 Marigold Dr.
                            Vista, CA 92083


                            John and Tammy Wilkoski
                            625 Marigold
                            Vista, CA 92083


                            Lowe's
                            1000 Lowes Blvd.
                            Mooresville, NC 28117


                            On Deck Capital
                            175 W. Jackson Blvd., Suite 600
                            Chicago, IL 60604


                            Pro Leasing, LLC
                            PO Box 2470
                            Vista, CA 92085
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                            Pro Leasing, LLC
                            2470 S. Sante Fe
                            Vista, CA 92084


                            Seacoast Bank
                            PO Box 9012
                            Stuart, FL 34995-9012


                            Swift Funding California LLC
                            2474 McDonald Ave.
                            Brooklyn, NY 11223


                            Swift Funding California LLC
                            1019 Avenue P.
                            Brooklyn, NY 11223


                            Teresa Romine
                            200 S. Emeral Dr. #38
                            Vista, CA 92081


                            Tri Freeway Business Partner
                            Attn: Peter Wang
                            425 N. Whisman Road #600
                            Mountain View, CA 94043


                            U.S. Small Business Administration
                            Office of General Counsel
                            312 North Spring Street, 5th
                            Los Angeles, CA 90012
